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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION




UNITED STATES OF AMERICA                                                PLAINTIFF


VS.                                 4:05cr305-35 SWW


WILLIAM STEVE SPANGLER                                                  DEFENDANT(S)




                                       ORDER


      The government has filed a Motion to Revoke Conditions of Pretrial Release (doc

#419 ). The motion is GRANTED.

       The Clerk is directed to issue a warrant for above named defendant and deliver to the

U.S. Marshal’s office.

       The United States Marshal or the arresting officer is directed to bring the defendant

before the undersigned and a hearing will be scheduled forthwith.

       IT IS SO ORDERED this 12th day of April 2006.



                                        /s/ John F. Forster, Jr.
                                       U.S. MAGISTRATE JUDGE
